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17                        UNITED STATES DISTRICT COURT
18                      CENTRAL DISTRICT OF CALIFORNIA
19                                SOUTHERN DIVISION
20 THRIVE NATURAL CARE, INC.,                    Case No. 2:21-CV-02022-DOC-KES
21          Plaintiff and Counterclaim           LE-VEL’S REPLY IN SUPPORT OF
            Defendant,                           ITS DAUBERT MOTION TO
22                                               EXCLUDE REPORT AND
       v.                                        TESTIMONY OF DAVID DREWS
23
   LE-VEL BRANDS, LLC,                           REDACTED VERSION OF
24                                               DOCUMENT PROPOSED TO BE
            Defendant and                        FILED UNDER SEAL
25          Counterclaim Plaintiff.
                                                 Judge:   Hon. David O. Carter
26                                               Crtrm:   10A
                                                 Date:    July 25, 2022
27                                               Time:    8:30 a.m.
28                                               Action Filed: March 4, 2021
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  1 I.     INTRODUCTION
  2        Defendant and Counterclaim Plaintiff Le-Vel Brands, LLC submits this reply
  3 in support of its Daubert motion to exclude the report and testimony of Plaintiff and
  4 Counterclaim Defendant Thrive Natural Care, Inc. (“TNC”)’s damages expert David
  5 Drews. Drews’s expert report does not rest on reliable factual foundation, failed to
  6 account for alternative market reasons for TNC’s alleged damages, and is fatally
  7 flawed. TNC’s opposition (Dkt. 147-6) merely recites its arguments in opposition to
  8 Le-Vel’s motion for summary judgment (Dkt. 147-3), completely fails to address the
  9 terminal shortcomings of Drews’s report and testimony, and raises peripheral
10 arguments keyed to the wrong legal standard.
11         Drews (1) relies on speculative evidence supporting the harm to TNC caused
12 directly from Le-Vel’s infringement, (2) fails to separate the harm to TNC allegedly
13 caused by Le-Vel from the harm caused by third-party Thrive Causemetics (or any
14 other third party), and (3) relies on speculative evidence in assessing the equities that
15 underlie TNC’s requests for a disgorgement of profits and reasonable royalties.
16         For the reasons stated in Le-Vel’s opening brief and below, this Court should
17 exclude Drews’s report and testimony under Federal Rules of Evidence 702 and 403.
18 II.     ARGUMENT
19
           A.     Le-Vel’s Daubert Motion Is Not an Impermissible “Second
20                Summary Judgment Motion”
21         Le-Vel seeks exclusion of David Drews’s expert report and related testimony
22 pursuant to Fed. R. Evid. 702 and 403, Daubert v. Merrell Dow Pharmaceuticals, 509
23 U.S. 579, 597 (1993), and Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999).
24 Le-Vel challenges Drews’s report and related testimony as lacking a reliable
25 foundation, and as impermissibly speculative, irrelevant, and unhelpful to a trier of
26 fact. See Dkt. 129. Le-Vel contends Drews’s opinion is not based on sufficient facts
27 or data, is not the product of reliable principles and methods, and failed to reliably
28 apply reliable principles and methods to the facts of the case. Fed. R. Evid. 702. This
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  1 standard is separate and distinct from the summary judgment standard under Fed. R.
  2 Civ. P. 56.
  3        That Le-Vel contemporaneously moved for summary judgment on TNC’s
  4 damages claims is simply a product of TNC’s wholesale reliance on Drews to prove
  5 such relief. For that reason, the exclusion of Drews will dispose of TNC’s monetary
  6 claims for purposes of summary judgment.
  7        In response, TNC contends that Le-Vel’s citation of summary judgment cases
  8 in its Daubert motion makes this motion an impermissible second motion for
  9 summary judgment. (Dkt. 147-6 (“Opp.”) at 4). Those cases, however, are highly
10 relevant for purposes of Daubert motions too. Specifically, the courts in Marketquest
11 Group, Inc. v. BIC Corp., 316 F. Supp. 3d 1234 (S.D. Cal. 2018), Quia Corp. v.
12 Mattel, Inc., No. C 10-1902 JF (HRL), 2011 WL 2749576 (N.D. Cal. July 14, 2011),
13 and Trovan, Ltd. v. Pfizer, Inc., No. CV-98-00094 LGB MXC., 2000 WL 709149
14 (C.D. Cal. May 24, 2000) rejected expert testimony on summary judgment where
15 there was no evidence of licensing or licensing negotiations between the parties, no
16 prior license or negotiations with respect to the plaintiffs respective marks with third
17 parties, no plans or timelines for licensing the marks, and no evidence that the
18 plaintiffs would have licensed its mark. That Drews failed to include those very types
19 of licenses and facts in his analysis renders his report and opinion impermissibly
20 speculative, unreliable, and unhelpful.
21         In support of its contention that Le-Vel’s Daubert motion is a disguised
22 summary judgment motion, TNC relies on Finjan, Inc. v. Sophos, Inc., No. 14-CV-
23 01197-WHO, 2016 WL 4560071 (N.D. Cal. Aug. 22, 2016). Yet, in Finjan, the court
24 rejected the defendant’s later-filed Daubert motion in limine because the arguments
25 made in that motion had previously been fully briefed and rejected in an earlier-filed
26 summary judgement motion. See Finjan, Inc. v. Sophos, Inc., No. 14-CV-01197-
27 WHO (N.D. Cal), ECF Nos. 140 [Defendant’s Motion for Summary Judgment], 181
28 [Defendant’s Reply In Support of its Motion for Summary Judgment], 201 [Minutes
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  1 from Hearing on Summary Judgment], 205 [Order on Summary Judgment], 217
  2 [Defendant’s Motion in Limine]. That is distinctly different from this case, as Le-Vel
  3 filed both of its motions contemporaneously, seeking different forms of relief under
  4 different standards of proof, and neither motion has been decided, let alone decided
  5 with any reasoning that might impact the disposition of one motion over the other.
  6
               B.     Drews Failed to Account for Alternative Marketplace
  7                   Reasons for the Alleged Damage to TNC’s Brand
  8            Drews is required to have a sufficiently reliable basis on which to formulate his
  9 opinions such that those opinions are reliable and helpful to a factfinder. Daubert v.
10 Merrell Dow Pharmaceuticals, 509 U.S. 579, 597 (1993), and Kumho Tire Co. v.
11 Carmichael, 526 U.S. 137 (1999). Here, Drews simply assumes infringement (Dkt.
12 129-1, Ex. 1 (“Drews Rep.”) 1), briefly discussed the unsubstantiated sources of
13 alleged harm to TNC’s brand (Drews Rep. 6-10), and then assumes these harms
14 existed when calculating a reasonable royalty and disgorgement of profits (id. 10-24).
15 But disgorgement of profits and an award of a reasonable royalty do not arise from a
16 trademark infringement per se; rather such relief is subject to the equities of a case.
17 As such, Drews was required to provide some non-speculative, factual basis for the
18 harm alleged in his report. 15 U.S.C. § 1117(a); see Fifty-Six Hope Road Music, Ltd.
19 v. A.V.E.L.A., Inc., 778 F.3d 1059, 1075 (9th Cir. 2015), cert. denied, 136 S. Ct. 410
20 (2015); J. McCarthy on Trademarks and Unfair Competition § 30:59 (5th ed.) (“This
21 means that an accounting of profits is never automatic and never a matter of right.”).
22 Drews’s analysis of harm in this case rests on impermissible speculation
23 unsubstantiated by the factual record. 1 And Drews failed to seek out the information
24
25    1
           Throughout his report, Drews uses speculative wording, e.g.,
                                                                         (Drews Rep. 6
26 (emphasis added)), some of Le-Vel’s sales
27 had Le-Vel’s infringing product not been available for sale (id. 7 (emphasis added)),
28                                                                    by Le-Vel (id. (emphasis
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  1 needed on which to base a reliable opinion. These failures of due diligence render his
  2 opinions fatally flawed.
  3         TNC claims that Drews adequately accounted for actual harm to TNC sufficient
  4 to support TNC’s equitable claims.          Opp. at 13.   Those sources of harm are:
  5 (1) consumer confusion, (2) the use of similar keyword advertising, and (3) the
  6 “likelihood that Le-Vel’s infringement would create an association between TNC and
  7 an MLM company that has received negative attention for unsavory tactics.” Id.;
  8 Drews Rep. 6-10 (defining these harms as (1)                             (2)
  9              (3) Le-Vel’s                                    and (4) Le-Vel’s
10                          ).
11          First, Drews cites no evidence of actual lost sales to TNC that were directly
12 caused by or attributable to Le-Vel, or any actual sales that were diverted from TNC
13 to Le-Vel. Drews Rep. 7; Dkt. 129-1, Ex. 2 (“Drews Dep.”) 58:1-59:11. In fact,
14 Drews knows of no instance of actual consumer confusion in any form, manner, or
15 context. Drews Dep. 58-60. Instead, Drews deduces that evidence of confusion is
16 shown by the 2021 Wallace Survey and then concludes that such survey confusion is
17 evidence of harm. Drews Rep. 7; Drews Dep. at 100:8-12. Drews’s conclusion is
18 baseless as a matter of fact and law. Indeed, Drews acknowledged that the Wallace
19 survey was not designed to test lost or diverted sales and was only intended to test
20 customer confusion.         Dkt. 129-1, Ex. 5 at 76:7-11; Drews Dep. 99:7-100:4.
21 Moreover, consumer confusion is legally insufficient harm to substantiate an award
22 of monetary damages. See, e.g., Scat Enterprises, Inc. v. FCA US LLC, No. CV 14-
23 7995-R, 2017 WL 5896182, at *3 (C.D. Cal. June 8, 2017) (“Moreover, even if
24
25
      added)),
26
27 (id. 7 (emphasis added)),
28                               (id. 9 (emphasis added)).
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  1 Plaintiff was able to show that actual confusion exists and is likely to exist, it fails to
  2 persuade this Court that such a fact, by itself, is sufficient to make the requisite
  3 showing of actual harm to its mark.”). As such, Drews’s reliance on survey confusion
  4 as a proxy for actual harm is fatally flawed. Further, Drews failed to analyze, account,
  5 or attribute any existing marketplace confusion created from third-party Thrive
  6 Causemetics, which was contemporaneously selling its allegedly infringing THRIVE-
  7 branded skincare products in the marketplace at the same time when Le-Vel was
  8 selling its THRIVE SKIN products. Drews Dep. 104:23-105:11.
  9            Second, harm from the use of similar key words was based on pure speculation.
 10 Drews failed to obtain from TNC the underlying financial data needed to properly
 11 attribute the actual amount that TNC’s AdWords spend increased. Nor did Drews
 12 seek to measure any specific increased expenditures incurred by TNC that were
 13 directly attributable to Le-Vel’s infringement (id. 124:3-7) or otherwise limit certain
 14 other advertising expenditures solely to the time period that Le-Vel has used its
 15 THRIVE SKIN trademark (id. 124:24-125:2). Drews also failed to account for
 16 alternative causes for TNC’s increased expenses, rendering his opinion impermissibly
 17 speculative. Id. 125:3-9. For example, Drews admits that he failed to separate the
 18 noise caused by Thrive Causemetics (and other third parties) that used the THRIVE
 19 mark for skincare products and in advertising during the alleged damages period, and
 20 admits knowing that advertising expenses could have gone up for purely business
 21 reasons. Drews Dep. 115:9-117:25, 119:6-22.
 22            Third, Drews failed to rely upon non-speculative evidence supporting any
 23 actual harm to TNC directly attributable to the alleged negative associations with
 24 Le-Vel. Nor did Drews endeavor to evaluate or weigh whether such “negative
 25 associations” were comprised of unsubstantiated and/or debunked claims. 2 Drews
 26
 27   Drews also did not consider the very favorable reputation that Le-Vel enjoys,
      2

    including as created through Le-Vel’s philanthropic and charitable work (for the
 28 National Breast Cancer Foundation, Marine Corps, and Toys for Tots, among others
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  1 Rep. 7, Drews Dep. 129:20-21. And Drews neglected to determine any causal
  2 relationship between Le-Vel’s alleged bad reputation and the harm to TNC’s
  3 reputation, other than through impermissible speculation. Given that many successful
  4 brands are subject to consumer gripes and/or agency review, negative associations
  5 without evidence of causational harm are simply noise.
  6         Finally, TNC contends that it “need not show quantifiable harm or diverted
  7 sales.” Opp. at 11. Yet harm stemming from a “loss of the ability to control its
  8 reputation for quality” still requires sufficient proof of case equities. Without such
  9 proof, monetary damages would be granted as a matter of right, as infringement
 10 presumes loss of control over the reputation of the plaintiff’s mark. But that is not
 11 the law, as damages are subject to the equities of a case. What remains crystal clear
 12 is that Drews never analyzed or attributed any harm to TNC’s loss of control over its
 13 reputation that was directly caused by Thrive Causemetics’s contemporaneous
 14 infringement separate and apart from the alleged harm that was directly caused by
 15 Le-Vel. For that reason alone, harm from the loss of control over TNC’s reputation
 16 directly caused by Le-Vel remains impermissibly speculative.
 17
            C.     Drews Lacks a Sufficiently Reliable Basis for Disgorgement
 18                of Profits
 19         TNC urges disgorgement of profits in this action based on preventing unjust
 20 enrichment and deterring infringement. Opp. at 4-5.3 Drews writes in his report that
 21
 22                                          and that profits can be awarded
 23
 24 (see Dkt. 23-2, ¶¶ 35-36); Le Vel’s efforts to address real malnutrition through Thrive
 25 Nourish (see id., ¶¶ 37-38); the effect of Le Vel’s products on helping people live
    happier, healthier lives and look and feel better (see Dkt. 138, ¶ 103); and other
 26 positive press.
 27 3 TNC lists diverted sales as a justification for a disgorgement of profits award too,
    but notes that “TNC is seeking disgorgement of Le-Vel’s profits on the basis of unjust
 28 enrichment and deterrence, not because of diverted sales.” Opp. at 11.
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  1                   Drews Rep. 10.     Drews then conjectures that Le-Vel’s profits
  2
  3                    and                                      Drews Rep. 10-11. But
  4 Drews lacks any sufficiently reliable basis on which to draw such conclusions.
  5        First, Drews’s opinion that Le-Vel’s profits
  6                                                                     lacks any factual
  7 foundation for the unjust enrichment alleged to have occurred, let alone how Le-Vel’s
  8 profits serve as an adequate measure for such enrichment. Drews Rep. 10. Drews
  9 asserts unjust enrichment is appropriate because Le-Vel was “aware of TNC’s
 10 trademark and brand prior to offering their own skincare products.” Drews Dep. 60:4-
 11 20. From that awareness, Drews reaches the speculative conclusion that Le-Vel
 12 intended to trade off TNC’s mark and goodwill. Id. Yet even Drews himself admits
 13 that he was unaware of any evidence that “Le-Vel was not seeking to trade off the
 14 goodwill associated with its own Thrive brand for its skincare products.” Drews Dep.
 15 59:23-60:2. In sum, Drews speculatively deduces that Le-Vel was unjustly enriched
 16 when it used its long-standing and successful THRIVE house mark with its skincare
 17 products. As detailed in Le Vel’s opening brief, Drews never determined what part
 18 of Le-Vel’s profits were directly attributable to Le-Vel’s use of the THRIVE mark for
 19 its skincare products. Dkt. 129 at 10-11. Further still, Drew never assessed what
 20 portion of Le-Vel’s profits from April 2019 to present were attributable to Le-Vel’s
 21 own goodwill enjoyed by its own THRIVE mark, as opposed to what portion was or
 22 might have been attributable to any alleged unjust enrichment. Instead, Drews rests
 23 on the single conclusory remark that Le Vel’s profits were an adequate measurement.
 24        Second, Drews expresses no opinion in his report or otherwise that Le-Vel
 25 acted to willfully infringe TNC’s THRIVE mark, such that a disgorgement award
 26 might serve as a deterrent. That is important, as the cases TNC’s cites all found
 27 willfulness before assessing damages as deterrent. Monster Energy Co. v. Integrated
 28 Supply Network, LLC, 533 F. Supp. 3d 928, 933, 935-936 (C.D. Cal. 2021), appeal
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  1 dismissed, No. 21-55361, 2021 WL 3028034 (9th Cir. June 28, 2021) (finding “clear
  2 and convincing evidence that Defendant acted with malice, fraud, or oppression”);
  3 Playboy Enterprises, Inc. v. Baccarat Clothing Co., 692 F.2d 1272, 1276 (9th Cir.
  4 1982) (allowing for a disgorgement of profits to serve as a deterrent where “the
  5 defendants deliberately arranged to obtain counterfeit goods and to sell such goods as
  6 genuine [Playboy] products” and where a failure to disgorge profits would “encourage
  7 a counterfeiter to merely switch from one infringing scheme to another as soon as the
  8 infringed owner became aware of the fabrication. Such a method of enforcement
  9 would fail to serve as a convincing deterrent to the profit maximizing entrepreneur
 10 who engages in trademark piracy.”); Maier Brewing Co. v. Fleischmann Distilling
 11 Corp., 390 F.2d 117, 124 (9th Cir. 1968) (holding that the district court “reached the
 12 correct and proper conclusion [in granting an accounting of profits], upon finding that
 13 the appellants ‘knowingly, wilfully [sic] and deliberately infringed the said trade-
 14 mark.’”). Again, Drews did not endeavor to determine if Le-Vel was benefiting from
 15 its own goodwill or trading off TNC’s. Absent such proof, Drews has no reliable
 16 basis for substantiating an award of profits as an “effective deterrent.”
 17         Finally, TNC claims Drews was only required to do a calculation. Opp. At 6.
 18 That, however, jettisons the underlying principle that a disgorgement of profits is
 19 “subject to the principles of equity” and, thus, requires justification of the equities
 20 entitling such equitable relief. 15 U.S.C. § 1117(a); see Fifty-Six Hope Road Music,
 21 Ltd. V. A.V.E.L.A., Inc., 778 F.3d 1059, 1075 (9th Cir. 2015), cert. denied, 136 S. Ct.
 22 410 (2015); J. McCarthy on Trademarks and Unfair Competition § 30:59 (5th ed.)
 23 (“This means that an accounting of profits is never automatic and never a matter of
 24 right.”).
 25
            D.    TNC Lacks a Sufficiently Reliable Basis for Reasonable
 26               Royalties
 27         Drews seemingly based his royalties analysis on the factors set forth in
 28 Georgia-Pac. Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y.
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  1 1970), modified sub nom. Georgia-Pac. Corp. v. U.S. Plywood-Champion Papers,
  2 Inc., 446 F.2d 295 (2d Cir. 1971). Drews Rep. 23. Yet, Mr. Drews’s reliance on
  3 Georgia-Pacifc is impermissibly speculative given the factual record in this case.
  4            In Thrive Nat. Care, Inc. v. Thrive Causemetics, Inc., No. CV 20-9091 PA
  5 (ASX), 2021 WL 4813257, at *6 (C.D. Cal. Oct. 6, 2021), a court in this District
  6 (Judge Anderson) held that Drews’s reliance on the Georgia-Pacific factors was
  7 “‘impermissibly speculative’ where there is ‘the absence of a prior licensing
  8 agreement, evidence of licensing negotiations between the parties, or evidence
  9 otherwise showing either side’s intent to license.’”4 Similarly, in Marketquest Group,
 10 Inc. v. BIC Corp., 316 F. Supp. 3d 1234, 1301 n.34 (S.D. Cal. 2018), another court
 11 found that Drews’s reliance on Georgia–Pacific to calculate a reasonable royalty was
 12 “impermissibly speculative in this case given the absence of a prior licensing
 13 agreement, evidence of licensing negotiations between the parties, or evidence
 14 otherwise showing either side’s intent to license.” See also Lodestar Anstalt v.
 15 Bacardi & Co., No. 2:16-cv-06411-CAS (FFMx), 2019 WL 8105378, at *13 (C.D.
 16 Cal. July 3, 2019) aff’d, 31 F.4th 1228 (9th Cir. 2022).
 17            Drews and TNC agree that this case does not involve a holdover license
 18 between Le-Vel and TNC, that the parties have no prior licensing history, and that the
 19 parties have never negotiated or entered into a license with each other concerning the
 20 THRIVE mark. Drews Rep. 13-14, Drews Dep. 163:22-25. Instead, an “intent to
 21 license” is alleged given two prior litigation/legal-threat compromises, i.e., a February
 22 4, 2022 agreement with Bōdee Organics and
 23                                                             Opp. at 7-8; Drews Rep. 13;
 24
 25  TNC’s asserts that facts have changed since the decision in Thrive Nat. Care, Inc. v.
      4

    Thrive Causemetics, Inc., No. CV 20-9091 PA (ASX), 2021 WL 4813257 (C.D. Cal.
 26 Oct. 6, 2021). Opp. at 7. But the two new litigation/legal-threat settlement
 27 compromises that TNC concluded during the intervening time
                                    fail to “cure” the material shortcomings identified by
 28 Judge Anderson in the Thrive Causemetics decision.
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  1 Dkt. 129-1, Ex. 6                       ), Dkt. 129-1, Ex. 7 (“Bōdee Settlement”). As
  2 further explained in Le-Vel’s opening brief, neither agreement is a true license and
  3 neither provides a sufficiently reliable basis on which to base a royalty. Dkt. 129 at
  4 13-14.
  5         The Bōdee Settlement contains a sell-off period dressed up as a license―no
  6 doubt drafted in that manner given Judge Anderson’s decision in Thrive Causemetics.
  7 That agreement is no more than a lump-sum settlement payment to have occurred on
  8 May 11, 2022. Bōdee Settlement ¶ 2. And despite TNC’s claim that “[t]here was no
  9 litigation against Bōdee, nor did the parties come close to litigation” (Opp. at 7),
 10 Drews understood that the agreement was reached after a cease-and-desist letter was
 11 sent.    Drews Dep. 162:19-22.        The
 12                                                                        and does not once
 13 mention the words “license” or “royalty.”                       ¶ 5; Drews Dep. 147:3-9
 14 (“I do not see the word ‘license’ in here. . . I do not see the word ‘royalty.’”).
 15         These are not arms-length negotiations, but party compromises to avoid costly
 16 and inherently unpredictable litigation and legal costs. See Thrive Nat. Care, Inc. v.
 17 Thrive Causemetics, Inc., No. CV 20-9091 PA (ASX), 2021 WL 4813257, at *6 (C.D.
 18 Cal. Oct. 6, 2021). TNC’s Colibri Heart Valve LLC v. Medtronic CoreValve LLC,
 19 No. SACV2000847DOCJDE, 2021 WL 7285995 (C.D. Cal. Nov. 16, 2021) and
 20 Sentius Int’l, LLC v. Microsoft Corp., No. 5:13-CV-00825, 2015 WL 451950, at (N.D.
 21 Cal. Jan. 27, 2015) citations are inapposite, as both cases involved settlements where
 22 actual royalty negotiations occurred and actual licenses resulted. Tellingly, Drews
 23 nor TNC addresses the fact that the two litigation/legal-threat agreements were
 24 executed after TNC filed the present lawsuit. Nor does Drews or TNC deny that a
 25 hypothetical negotiation would have occurred in April 2019. See Lodestar Anstalt v.
 26 Bacardi & Co., No. 16-cv-06411-CAS (FFMx), 2019 WL 8105378, at *14 (C.D. Cal.
 27 July 3, 2019), aff’d, 31 F.4th 1228 (9th Cir. 2022) (“This royalty rate cannot serve as
 28 a legitimate basis for calculating a reasonable royalty rate in this case because it did
                                              10                Case No. 2:21-CV-02022-DOC-KES
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  1 not exist prior to the commencement of this lawsuit.”).
  2         TNC points out that
  3                                          Opp. at 8. But Drews knew that Le-Vel never
  4 paid any royalties to or otherwise obtained a license from another party in licensing a
  5 third party’s THRIVE (or similar) mark.          Drews Rep. 13 (
  6
  7                            ); Drews Dep. 167:16-168:6 (stating that Georgia-Pacific
  8 Factor 2 is concerned with “royalties paid by the licensee for the asset in – at issue or
  9 similar assets at issue”). In his report, Drews cites to a merchandising agreement
 10 between Le-Vel and
 11                                                Drews Rep. 13-14; Drews Dep. 169:10-
 12 170:8; Mello Decl., Ex. 8, LE-VEL00000003 (“Merchandising Agreement”). TNC
 13 ignored the arguments Le-Vel raised in its opening brief, and cited no authority
 14 justifying Drews’s reliance on the Merchandising Agreement where Le-Vel as the
 15 hypothetical licensee was paid by a third party, despite Georgia-Pacific Factor 2
 16 requiring the converse. TNC likewise does not contest that a negotiation with a
 17 merchandising partner relating to royalties on merchandise sales is wholly different
 18 from the hypothetical negotiation at issue.
 19         Instead, TNC notes that “Drews also based is [sic] analysis on licenses with
 20 third parties, which also provides a reliable basis for determining a reasonable
 21 royalty.” Opp. at 8. However, Drews’s hypothetical negotiation in Georgia-Pacific
 22 Factor 15 fails to account for any of these third-party licenses at all, instead leaning
 23 on Factors 1 and 2 (the two TNC settlement agreements and the Le-Vel merchandising
 24 agreement) as                                             Drews Rep. 22. Further still,
 25 the cases that TNC cites do not support Drews’s peripheral reliance on third-party
 26 agreements. In QS Wholesale, the parties themselves had participated in actual
 27 negotiations over the defendant’s offer to purchase the plaintiff’s mark.            QS
 28 Wholesale, Inc. v. World Mktg., Inc., No. SA 12-CV-0451 RNBX, 2013 WL 1953719,
                                              11            Case No. 2:21-CV-02022-DOC-KES
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  1 at *4 (C.D. Cal. May 9, 2013) (Carter, J.). The courts in adidas Am., Inc. v. Payless
  2 Shoesource, Inc., No. CV 01-1655-KI, 2008 WL 4279812, at *12 (D. Or. Sept. 12,
  3 2008) and Gucci Am., Inc. v. Guess?, Inc., 858 F. Supp. 2d 250, 256 (S.D.N.Y. 2012)
  4 relied on evidence from actual license agreements between the parties and third-
  5 parties to form a sufficiently reliable basis to calculate a royalty.5
  6            In the absence of any evidence of meaningful prior licensing activity by either
  7 party (whether with each other or with third parties), any “reasonable royalty” award
  8 would be impermissibly speculative and unsupportable as a matter of law. M2
  9 Software Inc. v. Viacom, Inc., 223 F. App’x 653, 655 (9th Cir. 2007) (“In the
 10 absence of a legitimate proposed basis on which to calculate a royalty, awarding a
 11 reasonable royalty . . . would be impermissibly speculative.”). This Court should
 12 strike Drews’s report and opinions as impermissibly speculative and lacking reliable
 13 factual foundation adequate to calculate a reasonable royalty.
 14 III.       CONCLUSION
 15            For the reasons and authorities above, and those in Le-Vel’s opening brief,
 16 Le-Vel respectfully requests that the Court exclude Drews’s report and testimony.
 17
 18 Dated: July 11, 2022                             /s/
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 24
 25   TNC also relies on Bauer Bros., LLC for this point, but the court in that case merely
      5

    stated that “[b]ased on the record in this case, the Court cannot conclude that Bauer
 26 is not entitled to damages as a matter of law.” Bauer Bros., LLC v. Nike, Inc., 159 F.
 27 Supp. 3d 1202, 1214 (S.D. Cal. 2016). Since the expert reports and relevant licenses
    are sealed, neither Le-Vel nor TNC can adequately assess the factual record in that
 28 case to compare it to this one.
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